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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

                                                   )
    UNITED STATES SECURITIES                       )
    AND EXCHANGE COMMISSION,                       )
                                                   )
                         Plaintiff,                )      Civil Action No. 18-cv-5587
                                                   )
    v.                                             )      Hon. John Z. Lee
                                                   )
    EQUITYBUILD, INC., EQUITYBUILD                 )      Magistrate Judge Young B. Kim
    FINANCE, LLC, JEROME H. COHEN,                 )
    and SHAUN D. COHEN,                            )
                                                   )
                         Defendants.               )
                                                   )

                           RECEIVER’S TENTH STATUS REPORT
                                  (Fourth Quarter 2020)

         Kevin B. Duff, as the receiver (“Receiver”) for the Estate of Defendants EquityBuild, Inc.,

EquityBuild Finance, LLC, their affiliates, and the affiliate entities of Defendants Jerome Cohen1

and Shaun Cohen, as defined in the Order Appointing Receiver entered August 17, 2018 (Dkt. No.

16), as supplemented by Order entered March 14, 2019 (Dkt. No. 290) and Order entered February

21, 2020 (Dkt. No. 634) (collectively, the “Receivership Defendants”), and pursuant to the powers

vested in him by Order of this Court, respectfully submits this Tenth Status Report for the quarter

ending December 31, 2020.

I.       SUMMARY OF THE OPERATIONS OF THE RECEIVER

         The Receiver, together with his legal counsel, Rachlis Duff & Peel, LLC (“RDP”),

accountants BrookWeiner, LLC (“BrookWeiner”), forensic consultant Prometheum Technologies,




1
 On December 30, 2020, Defendant Shaun Cohen reported to the Receiver that Defendant Jerome
Cohen died on November 28, 2020
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Inc. (“Prometheum”), asset management and real estate brokerage services provider SVN Chicago

Commercial, LLC (“SVN”), and claims administration service provider Axos Fiduciary Services

(“Axos”), have undertaken, without limitation, the following activities since the submission of his

Ninth Status Report (Dkt. No. 757):

        a.      Identification and Preservation of Assets

        Since the filing of his Ninth Status Report, the Receiver continued using reasonable efforts

to determine the nature, location, and value of all property interests of the Receivership

Defendants, including monies, funds, securities, credits, effects, goods, chattels, lands, premises,

leases, claims, rights, and other assets, together with all profits, interest, or other income

attributable thereto, of whatever kind, which the Receivership Defendants owned, possessed, had

a beneficial interest in, or controlled directly or indirectly.

        At the end of the Fourth Quarter 2020, there were 49 properties in the Receivership Estate,

including the 37 one-to-four unit properties that are being marketed as a single portfolio and the

property in Houston, Texas.2 The Receiver’s primary focus has been and continues to be the

preservation, operation, maintenance, and sale of the properties within the Receivership Estate, as

well as the implementation and handling of claims administration.

        As previously stated, the Receiver, in connection with his counsel, asset manager/real

estate broker, and property managers, continues to plan for cash flow needs at the properties

including but not limited to the underperforming properties, to control and minimize expenditures



2
  There were 116 properties in the Receivership Estate at the inception of the Receivership, not
including a property in Plano, Texas, that Defendant Shaun Cohen had used as a residence. (See
Exhibit 6) The Receiver sold ten properties in the second quarter of 2019 (formerly reported as six
properties because five of these properties were sold together), eleven properties in the fourth
quarter of 2019, two properties in the first quarter of 2020, 17 properties in the second quarter of
2020, 12 properties in the third quarter of 2020, and 15 properties in the fourth quarter of 2020.
(See Exhibit 1)


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where possible, and to address health, safety, and other essential needs at each property. To that

end, the Receiver and his counsel have regularly communicated with the property managers to

address operational and cash needs. The Receiver and his retained professionals also have

reviewed monthly financial reporting and analyzed the cash position of the Estate. In consultation

with his asset managers, the Receiver has assessed the prudence and necessity of property

maintenance and repair work. Consistent with the Liquidation Plan filed with the Court (Dkt. No.

166), the Receiver remains committed, in accordance with the advice of his retained professionals,

the property managers, and asset management consultants, and subject to availability of funds, to

undertake capital improvements needed to address health and safety concerns, cure building code

violations, or yield increases in occupancy that would drive commensurate increases in property

value.

         During the Fourth Quarter 2020, the Receiver paid real estate taxes at the closings of the

sales of Receivership properties. As of December 31, 2020, only two properties had delinquent

2018 property taxes, 7237-43 S Bennett Avenue in Chicago (in the amount of $28,789.54) and

1102 Bingham in Houston (in the amount of $49,056.47). Both properties are under contract, and

the Chicago property is the subject of the Receiver’s pending Eleventh Motion to Confirm Sale

(Dkt. No. 902). An additional $36,507.51 is owed for 2019 taxes on the Houston property, and

there are $30,323.49 of delinquent 2019 taxes across the remaining Chicago real estate portfolio.

         The Receiver is maintaining casualty and liability insurance for all assets in the portfolio

and paid $96,969 for insurance in the Fourth Quarter 2020. The cost of maintaining this insurance

decreases, however, with each conveyance. The cost of the monthly general liability and umbrella

policy is $23,164.40, and the last monthly payment on the property insurance was $17,228. In the

Fourth Quarter 2020, the Receiver recovered the balance of the $406,086.41 insurance proceeds




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related to a fire that occurred at 638 N. Avers in November 2019. These funds are held in the

segregated account held for that property (Exhibit 2) and will be used to cover its expenses until it

can be conveyed.

       b.      Property Sales

       The sales of fifteen Receivership properties closed during the Fourth Quarter 2020,

generating aggregate net proceeds in the amount of $13,896,003. See Exhibit 1 for a listing of

property sales and net proceeds by properties since the inception of the Receivership, including

properties closed during the Fourth quarter by closing date, property address and gross and net

proceeds. Consistent with the Court’s orders approving these sales, the Receiver segregated the

net proceeds into separate subaccounts. (Dkt. Nos. 615, 616)

       On October 5, 2020, the Receiver filed his Tenth Motion to Confirm Sales of 13 apartment

buildings and a vacant land parcel (Dkt. No. 809):

   •   4533-47 South Calumet Avenue, Chicago, Illinois 60653
   •   4611-15 South Drexel Boulevard, Chicago, Illinois 60653
   •   6217-27 South Dorchester Avenue, Chicago, Illinois 60637
   •   7024-32 South Paxton Avenue, Chicago, Illinois 60649
   •   7255-57 South Euclid Avenue, Chicago, Illinois 60649
   •   4317-19 South Michigan Avenue, Chicago, Illinois 60653
   •   7442-54 South Calumet Avenue, Chicago, Illinois 60619
   •   7701-03 South Essex Avenue, Chicago, Illinois 60649
   •   816-22 East Marquette Road, Chicago, Illinois 60621
   •   1422-24 East 68th Street, Chicago, Illinois 60637
   •   2800-06 East 81st Street, Chicago, Illinois 60617
   •   4750-52 South Indiana Avenue, Chicago, Illinois 60615
   •   7840 South Yates Avenue Chicago, Illinois 60649
   •   431 East 42nd Place, Chicago, Illinois 60653 (vacant parcel).

       On October 21, 2020, certain institutional lender claimants filed objections to the sale of

the following eight properties (Dkt. No. 820):

       1.   4611-15 S Drexel Boulevard
       2.   6217-27 S Dorchester Avenue
       3.   7024-32 S Paxton Avenue


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        4.   7255-57 S Euclid Avenue
        5.   1422-24 East 68th Street
        6.   2800-06 E 81st Street
        7.   4750-52 S Indiana Avenue
        8.   7840-42 S Yates Avenue

        On November 2, 2020, the SEC filed a Reply in Support of the Receiver’s Tenth Motion

to Confirm Sales (Dkt. No. 845), and on November 6, the Receiver filed his Reply to the

Objections (Dkt. No. 858). The motion remains pending as to these eight properties.

        On October 30, 2020, the Court entered an order confirming the sales of the remaining six

properties included in the Receiver’s Tenth Motion to Confirm Sales (Dkt. No. 842), and the sale

of each of these properties was closed during the Fourth Quarter:

        1.   4533-47 S Calumet Avenue
        2.   4317-19 S Michigan Avenue
        3.   7442-48 S Calumet Avenue
        4.   7701-03 S Essex Avenue
        5.   816-20 E Marquette Road
        6.   431 E 42nd Place

        On October 26, 2020, the Court overruled the pending objections to the Receiver’s Eighth

and Ninth Motions to Confirm Sales (Dkt. No. 825), touching off a flurry of motions and two

appeals that sought to prevent and stay those sales.3 Claimants Citibank/Fannie Mae and Ventus

Holdings each appealed the Court’s decision, and moved this Court to stay the sales. Additionally,

Citibank/Fannie Mae filed a separate motion to certify an interlocutory appeal, and Ventus filed a

motion to vacate property sales. During the quarter, the Receiver responded to each of these

motions, participated in a mandatory settlement conference ordered by the Seventh Circuit, and

successfully moved to dismiss the appeals. This Court subsequently denied the pending motions

as moot, and on December 15, 2020, entered an order confirming the remainder of the sales (Dkt.


3
 The Fourth Quarter 2020 saw an unprecedented level of motion practice and briefing resulting in
higher than average fees for the Receiver’s work in this matter (see also Section VI below
discussing the process for the resolution of claims)


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No. 910). The Receiver closed the sales of each of the properties that were the subject of these

motions and appeals in the Fourth Quarter.

       For four consecutive weeks between December 14, 2020, and January 4, 2021, along with

other promotional efforts, the Receiver and his real estate professionals advertised for public bid

(with a January 15 deadline for the submission of offers) the following portfolio of 37 single-

family residences (containing 47 total units) pursuant to the Court’s order granting Receiver’s

Seventh Motion to Approve the Process for Public Sale of Real Property by Sealed Bid (Dkt. Nos.

645, 682):

       •       1017 West 102nd Street, Chicago, IL 60643
       •       1516 East 85th Place, Chicago, IL 60619
       •       2136 W 83rd Street, Chicago, IL 60620
       •       417 Oglesby Avenue, Chicago, IL 60409
       •       7922 S Luella Avenue, Chicago, IL 60617
       •       7925 S Kingston Avenue, Chicago, IL 60617
       •       7933 S Kingston Avenue, Chicago, IL 60617
       •       8030 S Marquette Avenue, Chicago, IL 60617
       •       8104 S Kingston Avenue, Chicago, IL 60617
       •       8403 S Aberdeen Street, Chicago, IL 60620
       •       8405 S Marquette Avenue, Chicago, IL 60617
       •       8529 S Rhodes Avenue, Chicago, IL 60619
       •       8800 S Ada Street, Chicago, IL 60620
       •       9212 S Parnell Avenue, Chicago, IL 60620
       •       10012 S LaSalle Avenue, Chicago, IL 60628
       •       11318 S Church Street, Chicago, IL 60643
       •       3213 S Throop Street, Chicago, IL 60608
       •       3723 W 68th Place, Chicago, IL 60629
       •       406 E 87th Place, Chicago, IL 60619
       •       61 E 92nd Street, Chicago, IL 60619
       •       6554 S Rhodes Avenue, Chicago, IL 60637
       •       6825 S Indiana Avenue, Chicago, IL 60637
       •       7210 S Vernon Avenue, Chicago, IL 60619
       •       7712 S Euclid Avenue, Chicago, IL 60649
       •       7953 S Woodlawn Avenue, Chicago, IL 60619
       •       8107 S Kingston Avenue, Chicago, IL 60617
       •       8346 S Constance Avenue, Chicago, IL 60617
       •       8432 S Essex Avenue, Chicago, IL 60617
       •       8517 S Vernon Avenue, Chicago, IL 60619
       •       2129 W 71st Street, Chicago, IL 60636



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       •       9610 S Woodlawn Avenue, Chicago, IL 60628
       •       5437 S Laflin Street, Chicago, IL 60609
       •       6759 S Indiana Avenue, Chicago, IL 60637
       •       1401 W 109th Place, Chicago, IL 60643
       •       310 E 50th Street, Chicago, IL 60615
       •       6807 S Indiana Avenue, Chicago, IL 60637
       •       1414-18 E 62nd Place, Chicago, IL 60637

       Aside from these 37 single-family residence properties for which bids were obtained in

early January, 2021, the following properties have not closed as of December 31, 2020:

       •    638 North Avers (for which the Receiver is in discussions with the institutional lender)
       •    7109-19 South Calumet (the terms of a proposed letter of credit to be posted by an
            institutional lender have not been resolved and the Receiver is awaiting a response from
            the lender’s counsel)
       •    1102 Bingham (a parcel of land in Houston, Texas, containing a single-family home
            and six adjacent vacant lots, which is under contract)
       •    7237-43 South Bennett (pending ruling on 11th Motion to Confirm Sales)
       •    Eight (8) properties that are the subject of the 10th Motion to Confirm Sales:

                   o   4611-15 S Drexel
                   o   6217-27 S Dorchester
                   o   7024-32 S Paxton
                   o   7255-57 S Euclid
                   o   1422-24 East 68th
                   o   2800-06 E 81st
                   o   4750-52 S Indiana
                   o   7840-42 S Yates

       Also pending is Ventus’ November 9, 2020 Motion for Return of Earnest Money Deposits

(Dkt. No. 861) to which the Receiver responded on November 24, 2020 (Dkt. No. 882).

       c.      Code Violations and Property Damage

       During the continued COVID-19 pandemic, the City’s citation of code violations has

remained low, and the administrative courts have extended most dates with respect to the

enforcement of code violations. During the Fourth Quarter 2020, two new notices of violation

were issued. In one of these cases (against 1449 N. Talman) the Receiver was able to obtain




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dismissal of the EquityBuild entity. The Receiver did not become aware of the other matter

(against 6250 S Mozart), however, before a default judgment was entered on December 16, 2020.

       During the Fourth Quarter, the Receiver moved to set aside several additional default

judgments entered in Department of Sanitation matters without the Receiver’s knowledge, which

had resulted in liens being filed against two estate properties. For the property located at 431 E.

42nd Place, the Receiver was able to negotiate a resolution with the City whereby $4,950 of default

judgments were reduced to $600 plus $60 court costs. For the property located at 4611 S. Drexel,

the Receiver was able to set aside the $2,740 default judgment and obtain a release of the recorded

lien, and the matter has been continued to February 18, 2021. The Receiver is aware of no other

pending Department of Sanitation matters.

       The Department of Administrative Hearings has not yet resumed hearings in Department

of Buildings matters, and therefore each of the hearings that were scheduled during the quarter in

pending matters was continued. However, counsel for the Receiver resolved one of the pending

matters (7546 S Saginaw) pursuant to a favorable settlement. During the quarter, the Receiver’s

counsel received numerous orders continuing hearings, updated its docket, and continued to work

closely with the property managers to address life and safety issues, and to preserve the respective

properties.

       Seven housing court matters were heard on October 8, 2020, resulting in three dismissals

and four continuances to January 28, 2021.

       In summary, as of December 31, 2020, there were 17 known pending City of Chicago

matters involving alleged code violations. These included 4 pending City of Chicago municipal

housing court matters, 11 pending City of Chicago administrative proceedings filed by the




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Buildings Department and 2 pending administrative proceeding filed by the Department of

Sanitation.

        d.     Financial Reporting and Rents Restoration

        In accordance with the February 13, 2019 Order (Dkt. No. 223), the Receiver continues to

provide institutional lenders with monthly accounting relating to rents generated by, and expenses

incurred in connection with, the properties on which they assert liens. To that end, monthly reports

covering the period through May 31, 2020 were sent to lenders’ counsel during the quarter.4

Reports for each property include the following information: (a) net operating income, (b)

expenditures made by the Receiver for the benefit of the property (primarily for insurance, real

estate taxes, and funds sent to the property manager to cover property management expenses not

payable through operating income), (c) net income distributed to the Receiver or to other property

accounts from which funds were previously borrowed, and (d) a computation of the amount (if

any) of rentals remaining to be restored to the property pursuant to the February 13, 2019 Order.

(Dkt. No. 223) Each report also includes a computation of the cumulative amount (if any)

reimbursable from each property, representing the amount that has been expended for the benefit

of the property from sources other than its operating income.

        Additional reimbursable amounts were expended to preserve, maintain, and improve

properties sold during the Fourth Quarter 2020. The aggregate amount reimbursable from

properties that were sold during the Fourth Quarter 2020 (calculated as described above) was

approximately $517,346. Because the balance of the rents required to be restored to properties




4
  Beginning in September 2019, the Receiver and his counsel also began generating monthly
reports for properties not encumbered by institutional debt.


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pursuant to Dkt. No. 223 was restored in September 20205, the Receiver will seek the Court’s

approval to reimburse the Receiver’s Account for these funds that the Receiver expended on the

sold properties.

         e.     Open Litigation

         During the Fourth Quarter 2020, the settlement and release agreement was executed by the

plaintiff in the matter captioned Barnes v. EquityBuild, et al., Case No. 19 L 7852, Circuit Court

of Cook County, and the matter was closed.

         Fact and expert discovery has proceeded in the matter captioned Byrd v. EquityBuild et al.,

Case No. 18 L 1993, Circuit Court of Cook County and a discovery cutoff of March 31, 2021 has

been set. Two outstanding orders for rules to show cause have been issued against two key

witnesses, but due to COVID the sheriff’s office is not currently serving the orders. Discovery

may need to be extended if defendant is unable to complete these two depositions.

         A claim brought by a tenant of 4520 S Drexel Avenue was settled by the insurance carrier

during the quarter without a lawsuit having been filed, resulting in a $25,000 deductible payment

owed which sum is included in the Receiver’s pending Motion to Approve Use of Proceeds from

Sales of Receivership Property. (Dkt. No. 902)

         The Receiver also received notice of a personal injury claim made by a tenant for injuries

allegedly sustained at 7114 S Cornell on August 9, 2020. The Receiver’s counsel has provided

notice of the Receivership to the tenant’s lawyer and notice of the claim to the institutional lender’s

counsel.




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 A small balance of $84.25 was restored in January 2021, resulting from adjustments relating to
prepaid insurance costs allocations.


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       f.      Notice of Appointment of Receiver

       The Receiver continued his efforts to notify all necessary and relevant individuals and

entities of the appointment and to protect and preserve the assets of the Receivership Estate. To

that end, as they are identified, the Receiver will continue to deliver notices to individuals or

entities that have been identified as potentially possessing property, business, books, records, or

accounts of the Receivership Defendants, or who may have retained, managed, held, insured, or

encumbered, or otherwise been involved with, any of the assets of the Receivership Defendants.

       g.      Claimant Communications

       The Receiver has provided numerous resources to keep claimants informed. To provide

basic information, the Receiver established a webpage (http://rdaplaw.net/receivership-for-

equitybuild) for claimants and other interested parties to obtain information and certain court

filings related to the Receivership Estate. A copy of this Status Report will be posted on the

Receivership web site.

       Court filings and orders are also available through PACER, which is an electronic filing

system used for submissions to the Court. Investor claimants and others seeking court filings and

orders can visit www.ilnd.uscourts.gov for information about accessing filings through PACER.

       Beyond those avenues, the Receiver continues to receive and respond to numerous emails

and voicemails from claimants and their representatives. The Receiver and his staff responded to

about 150 such inquiries during the Fourth Quarter 2020, in addition to numerous oral and other

written communications. The Receiver will continue to work to ensure that information is

available and/or otherwise provided as quickly and completely as practicable, asks all stakeholders

and interested parties for patience during this lengthy process, and reiterates that responding to

individual inquiries depletes Receivership assets. These quarterly status reports and the Receiver’s




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other court filings remain the most efficient means of communicating information regarding the

activities of the Receivership Estate.

        h.      Control of Receivership Property and Records

        The Receiver has continued efforts to preserve all EquityBuild property and records. The

Receiver is maintaining two platforms of records and data. On October 9, 2020, the institutional

lenders submitted a plan to the Court to process the EquityBuild internal documents and make

them available to other claimants and parties. (Dkt. No. 812). Such access will involve a fee as

well as agreement regarding keeping the documents confidential. (Dkt. Nos. 911, 915)

        i.      Securing Bank and Investment Accounts

        The Receiver notified, contacted, and conferred with the banks and other financial

institutions identified as having custody or control of funds, accounts, or other assets held by, in

the name of, or for the benefit of, directly or indirectly, the Receivership Defendants. The Receiver

is still pursuing records from certain institutions.

        j.      Factual Investigation

        The Receiver and his retained professionals have continued to review and analyze the

following: (i) documents and correspondence sent to or received from the EquityBuild principals,

to whose email accounts the Receiver has access; (ii) bank records from EquityBuild and its

affiliate entities; (iii) EquityBuild documents (largely stored in cloud-based and other electronic

media, plus a limited number of hard copy records); (iv) available underlying transaction

documents received to-date from former Chicago-based EquityBuild counsel; and (v) files

produced by former EquityBuild counsel, accountants, and employees. The Receiver anticipates

that additional subpoenas will be issued in the coming months.




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       k.      Tax Issues

       The Receiver has informed investors that he cannot provide advice on tax matters.

Moreover, the Receiver and his retained professionals do not plan to issue 1099-INT’s. With

respect to valuation, loss, or other tax issues, investors and their tax advisors may wish to seek

independent tax advice and to consider IRS Rev. Proc. 2009-20 and IRS Rev. Rul. 2009-9.

       BrookWeiner was retained to perform accounting, tax, and related work in connection with

winding down the business operations of the Receivership Defendants. BrookWeiner also has

compiled monthly property statements and property spreadsheets and assisted with cash flow

analysis matters. In October, 2020, BrookWeiner prepared thirteen 2017 partnership tax returns.

The Receiver does not plan to issue Form K-1s for 2016 and 2017.

       l.      Accounts Established by the Receiver for the Benefit of the Receivership Estate

       The Receiver established custodial accounts at a federally insured financial institution to

hold all cash proceeds from the sale of the Receivership property. These interest-bearing checking

accounts are used by the Receiver to collect liquid assets of the Estate and to pay portfolio-related

and administrative expenses. The Receiver also established separate interest-bearing accounts to

hold funds from the sale of real estate, as directed by Court order, until such time as it becomes

appropriate to distribute such funds, upon Court approval, to the various creditors of the Estate,

including but not limited to the defrauded investors or lenders. Attached as Exhibit 2 is a schedule

reflecting the balance of funds in these property specific accounts as of December 31, 2020, with

a description of any changes to the account balance during the quarter.

II.    RECEIVER’S FUND ACCOUNTING

       The Receiver’s Standardized Fund Accounting Report (“SFAR”) for the Fourth Quarter

2020 is attached hereto as Exhibit 3. The SFAR discloses the funds received and disbursed from




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the Receivership Estate during this reporting period. As reported in the SFAR, cash on hand as of

December 31, 2020 equaled $1,181,881.43. The information reflected in the SFAR is based on

records and information currently available to the Receiver. The Receiver and his advisors are

continuing with their evaluation and analysis.

III.   RECEIVER’S SCHEDULE OF RECEIPTS AND DISBURSEMENTS

       The Receiver’s Schedules of Receipts and Disbursements (“Schedule”) for the Fourth

Quarter 2020 are attached hereto as Exhibit 4.         These Schedules in the aggregate reflect

$149,061.14 in total receipts and $134,407.03 in total disbursements to and from the Receiver’s

(non-property) accounts.

IV.    RECEIVERSHIP PROPERTY

       All known Receivership Property is identified and described in the Master Asset List

attached hereto as Exhibit 5. Additionally, a list of real estate that has been in the Receivership

Estate since its inception is attached as Exhibit 6, and the balance of the 89 separate interest-

bearing accounts established to hold the proceeds from sold real estate is attached as Exhibit 2.

       The Master Asset List identifies 56 checking accounts in the names of the affiliate entities

identified as Receivership Defendants, reflecting transfers of $213,249.56 to the Receiver’s

account. (See also Dkt. No. 348 at 23-24 for additional information relating to these funds.) The

Master Asset List also identifies funds in the Receiver’s account in the amount of $1,181,881.43.

(Exhibit 5). The 89 property-specific accounts holding funds from the sale of those properties

cumulatively contained $49,583,260.26 as of December 31, 2020 (Exhibit 2).

       The Master Asset List does not include funds received or recovered after December 31,

2020. Nor does it include potentially recoverable assets for which the Receiver is still evaluating




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the value, potential value, and/or ownership interests. The Receiver is in the process of evaluating

certain other types of assets that may be recoverable by the Receivership Estate.

V.     LIQUIDATED AND UNLIQUIDATED CLAIMS HELD BY THE RECEIVERSHIP
       ESTATE

       The Receiver and his attorneys are analyzing and identifying potential claims, including,

but not limited to, potential fraudulent transfer claims and claims for aiding and abetting the fraud

of the Receivership Defendants.

       On August 17, 2020, the Receiver through his retained counsel filed a lawsuit in the Circuit

Court of Cook County’s Law Division against certain of EquityBuild’s former lawyers: (1) the

law firm Rock Fusco & Connelly LLC, (2) Ioana Salajanu, a lawyer formerly at Rock Fusco, and

(3) the law firm Bregman, Berbet, Chwatz & Gilday, LLC. The Amended Complaint, filed on

September 23, 2020, alleges, inter alia, professional malpractice as well as aiding and abetting the

Cohens’ breaches of their fiduciary duties. The Receiver is represented in this matter by Spellmire

Bruck LLP, Roeder Law Offices, Porter Law Offices and Rachlis Duff & Peel, LLC. (See Dkt.

Nos. 759, 801) As of January 15, 2021, all Defendants have answered the complaint in the state

court action brought by the Receiver and written discovery has commenced.

       As it relates to potential actions against claimants, and as discussed as part of the pending

motion for establishment of a claims resolution process, the Receiver anticipates that any such

claims would be brought as part of the claims dispute resolution process.

VI.    CREDITORS AND CLAIMS AGAINST THE RECEIVERSHIP ESTATE

       The identification and compilation of claims submitted in this matter has been

extraordinarily complex and time-consuming due to the unique circumstances and facts in this

case. For example, it appears that in many instances anticipated proceeds of investor-lender loans

rolled into new offerings rather than being paid off at maturity. It also appears that in some



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circumstances the mortgages securing loans may have been released without investor-lenders’

knowledge or consent, allowing the Defendants to refinance the properties with new loans without

retiring the existing loans. Moreover, some investor-lenders may have been induced to exchange

secured loans for unsecured loans or equity positions through false representations. Additionally,

claims against many properties are complicated by cross-collateralized mortgages. The claims

process has also been complicated by, among other things: (i) improperly completed proofs of

claim, (ii) claims relating to properties that were conveyed to third-parties prior to the

establishment of the Receivership; and (iii) claims lacking reference to properties, or relating

solely to what appear to be equity investment vehicles.

         During the Fourth Quarter 2020, the Receiver continued to work on the accuracy and

completeness of its records regarding the nearly 2400 submitted claims.6 However, despite the

claims review and analysis undertaken to date, the Receiver has not yet been able to review all of

the documents submitted with each claim form, and thus makes no conclusions or

recommendations to the Court or to the claimants as to the validity, certainty, eligibility, or priority

of any particular claim at this time. Such review will occur as part of the claims process that is

currently under review, and discussed further below.




6
  Because many of the Proof of Claim (“POC”) forms submitted to the Receiver included claims
against more than one property, and many claimants submitted more than one POC for the same
claims, the most accurate measure of the total number of claims is the number of unique claims
against a particular property or fund, which total nearly 2400. About 165 of these claims, however,
are asserted against properties that are not part of the Receivership Estate, because they were sold
or otherwise disposed of before the Order Appointing Receiver was entered.


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         The Motion To Establish A Process For Resolution Of Claims.

         During the Fourth Quarter of 2020, the Receiver and his counsel proceeded on many fronts

in furtherance of a process for the review and resolution of claims and in response to the efforts of

certain claimants to have their claims addressed by the Court ahead of the others.

         On October 27 and December 17, 2020, the Court held additional telephonic hearings on

the Receiver’s February 28, 2020 Motion for Approval of Process for Resolution of Disputed

Claims (Dkt. No. 638), which proposed a process for the orderly resolution of claims submitted to

the Receiver in this matter. (Dkt. Nos. 836, 915) The Court directed the Receiver to work with

counsel for claimants to prepare several joint status reports and motions, and in accordance with

that directive counsel for the Receiver held several extended conference calls and exchanged

multiple rounds of drafts of (1) Joint Status Report Regarding Pending Motions (Dkt. 805) filed

on October 2, 2020; (2) Joint Motion to Resolve Disputes Regarding Standard Discovery (Dkt.

No. 807) also filed on October 2, 2020; and (3) Joint Status Report Regarding Certain Elements

of the Claims Process (Dkt. No. 911) filed on December 16, 2020. 7 Additionally, the Receiver

responded to; (4) Certain Institutional Lenders’ Proposal for Access to EquityBuild Documents

(Dkt. No. 812) on October 27, 2020 (Dkt. No. 828); and (5) Motion for a Protective Order raising

privilege issues related to communications with the lenders’ insurers (Dkt. No. 866) on November

24, 2020 (Dkt. No. 884).

         In connection with the discussions regarding the claims process, the Receiver also divided

the properties in the estate into proposed groupings and shared his proposal with counsel for both

the institutional lenders and certain of the investor lenders , worked with vendors Axos and Avalon



7
 A second Joint Status Report regarding the claims process was filed on January 22, 2021 (Dkt.
No. 928). A substantial amount of the work on this latter report was conducted during the Fourth
Quarter of 2020.


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to ready the claims documentation for transfer to claimants, met with vendors CloudNine and

TeamWerks to evaluate and receive training on their electronic discovery platform, and worked

with the institutional lenders to draft a proposed order implementing the first phase of the claims

process.

         There was also a substantial amount of activity in this Court and the Seventh Circuit Court

of Appeals initiated by certain of the institutional lender claimants: Briefing was completed on (1)

the pending Motion for Priority Determination and Turnover of Sale Proceeds (Dkt. Nos. 785, 806,

817); (2) Motion for Reconsideration of the Court’s September 23, 2020 minute order (Dkt. No.

801) related to the claims process (Dkt. Nos. 814, 818, 822, 823, 849), which was denied by the

Court on December 17, 2020 (Dkt. 915); (3) Motion to Stay Sales and Motion for Certification of

Interlocutory Appeal (Dkt. Nos. 832, 833, 834, 854, 862, 870), which were denied as moot in light

of the Seventh Circuit’s dismissal of the appeal on December 11, 2020. (Dkt. No. 898, 899); and

(4) the Receiver’s Motion to Dismiss the Appeal, which was granted by the Seventh Circuit Court

of Appeals on December 11, 2020.8

         This Court has indicated that the claims resolution process that will be implemented will

be a comprehensive process where all issues will be reviewed. Accordingly, the Receiver

anticipates utilizing this process to review all claims, including but not limited to their validity,

fairness, amount, legality and classification, as the process is meant to be comprehensive and will

allow for discovery and the like such that all matters regarding a property can be addressed at one

time in one process..




8
 As noted in Section I(b), Ventus Holdings also made several filings before the Court and the
Seventh Circuit in an effort to stop the sales of three properties, all of which were denied.


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       The institutional lenders have raised a myriad of objections regarding each stage of the

proposed process for the resolution of claims, which the Receiver responded to both orally and in

writing during the quarter. These objections include the Receiver’s role in the evaluation and

resolution of competing claims and the Court’s priority determinations, the scope and timing of

discovery, the appropriateness of summary proceedings, the timing and mechanism for the

Receiver’s affirmative assertion of avoidance claims, and the means through which the costs for

the administrative expenses associated with the process will be handled. The Court is continuing

to evaluate various issues regarding the claims resolution process and to that end, another status

conference was held on January 29, 2021.

       Pursuant to the Court’s order, the Receiver and his counsel worked with counsel for the

institutional lenders on the hosting of EquityBuild’s internal documents to provide access to all

claimants, and to prepare standard discovery requests to investor-lender claimants and to

institutional-lender claimants and a protective order governing the discovery of confidential

information. Pursuant to such discussions and further approvals and instructions from the Court

as set forth in a conference held on December 17, 2020, a process is being established where efforts

will be made to create the EquityBuild document library where access will be permitted for a small

fee for a limited time period of approximately six months. Separately, over the a three month

period, links to claims submitted for a property will be provided to each claimant on that property,

subject to terms on a confidentiality order that the court has entered. The Agreed Confidentiality

Order was entered by the Court on December 19, 2020 (Dkt. No. 917), and a proposed order

relating to claimants’ access to the EquityBuild and claims documentation has been presented to

the Court and awaits entry.




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       As reflected in the December 17, 2020 status conference, the Court has also reviewed and

largely approved of standard discovery that will issued to each participant in a given group, in the

hope of expediting the resolution of each group. A few items related to standard discovery remain

under review, as do other matters regarding the other discovery to occur during the claims

resolution process.

       Finally, some reminders regarding claims: Claimants may want to consider whether to hire

counsel to assist them with the claims process. Claimants do not have an obligation to retain

counsel in order to participate in the claims process, but the Receiver and his counsel cannot

provide legal advice to any claimant, nor can the Receiver advise claimants regarding whether or

not they should retain counsel. Any claimant that choses to proceed without counsel should visit

the section of the Court’s website (www.ilnd.uscourts.gov) named “Information for People

Without Lawyers (Pro Se)” which provides useful information and also states the following: "The

rules, procedures and law that affect your case are very often hard to understand. With that in mind,

you should seriously consider trying to obtain professional legal assistance from an attorney

instead of representing yourself as a pro se party.” Claimants may also want to speak with a lawyer

to assist them in determining for themselves whether or not to retain counsel.

       All claimants have a continuing responsibility to ensure that the Receiver at all times has

current and up-to-date contact information so that the Receiver may provide important information

relating to the claims process, the claimant’s claim, or the Receivership Estate. Claimants may

provide    changes     to    or   updated     contact    information     to    the    Receiver     at

equitybuildclaims@rdaplaw.net.




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 VII.    PROFESSIONAL FEES AND EXPENSES

         As of December 31, 2020, there were $2,054,140.47 in unpaid fees and expenses for all

 professionals that have been approved by the Court, and the Receiver has submitted applications

 for an additional $403,064.48 of professional fees for the third quarter of 2020 (Dkt. No. 885),

 which remains pending. On October 26, 2020, the Court granted the Receiver’s request for a lien

 on the estate assets and their proceeds to cover the Receiver’s fees and other approved

 Receivership expenses that may exceed the Estate’s unencumbered funds, and indicated that the

 priority of the lien will be determined as part of the claims process. (Dkt. No. 824)

 VIII. CONCLUSION

         At this time, the Receiver recommends the continuation of the Receivership for at least the

following reasons:

         1.     Preservation, maintenance, and operation of the assets in the Receivership Estate;

         2.     The continued investigation and analysis of current assets and potentially

 recoverable assets for which the Receiver is still evaluating the value, potential value, and/or

 ownership interests;

         3.     The continued efforts of the Receiver to dispose of various assets of the

 Receivership Estate on the best possible terms;

         4.     The continued investigation and analysis of the potential claims against the

 Receivership Estate, including, but not limited to, the claims and records of investors;

         5.     The continued investigation, analysis, and recovery of potential fraudulent transfer

 claims and claims against third parties;

         6.     The continued analysis and formulation, in consultation with the SEC and the

 Court, of a just and fair distribution plan for the creditors of the Receivership Estate; and




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       7.     The discharge of any other legal and/or appointed duties of the Receiver as

identified in the August 17, 2018 Order Appointing Receiver, or as the Court deems necessary.


Dated: February 1, 2021                            Kevin B. Duff, Receiver

                                            By:    /s/ Michael Rachlis
                                                   Michael Rachlis (mrachlis@rdaplaw.net)
                                                   Jodi Rosen Wine (jwine@rdaplaw.net)
                                                   Rachlis Duff & Peel, LLC
                                                   542 South Dearborn Street, Suite 900
                                                   Chicago, IL 60605
                                                   Phone (312) 733-3950; Fax (312) 733-3952




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                                  CERTIFICATE OF SERVICE

        I hereby certify that I provided service of the foregoing Receiver’s Tenth Status Report,

via ECF filing, to all counsel of record on February 1, 2021.

        I further certify that I caused true and correct copies of the foregoing to be served upon the

following individuals or entities by electronic mail:

        -       All known EquityBuild investors; and

        -       All known individuals or entities that submitted a proof of claim in this action (sent

                to the e-mail address each claimant provided on the claim form).

        I further certify that the Receiver’s Tenth Status Report will be posted to the Receivership

webpage at: http://rdaplaw.net/receivership-for-equitybuild


                                                        /s/ Michael Rachlis

                                                        Michael Rachlis
                                                        Rachlis Duff & Peel, LLC
                                                        542 South Dearborn Street, Suite 900
                                                        Chicago, IL 60605
                                                        Phone (312) 733-3950
                                                        Fax (312) 733-3952
                                                        mrachlis@rdaplaw.net




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                          EXHIBIT 1
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Prop #      PROPERTY ADDRESS          CLOSING DATE        SALE PRICE         AMOUNT OF NET PROCEEDS
                                         ALL CLOSED PROPERTIES
  3      5001-05 S Drexel                     5/22/2019     $2,800,000.00                  $2,579,171.14
  9      8100 S Essex                         4/30/2019     $1,100,000.00                   $887,701.86
 11      7500-06 S Eggleston                  4/26/2019      $960,000.00                    $841,038.85
 14      7549-59 S Essex                      4/26/2019     $1,175,000.00                  $1,074,337.60
 79      6160-6212 S Martin LK                4/30/2019      $785,000.00                    $532,278.72
 102     7927-29 S Essex                       5/1/2019      $175,000.00                    $141,875.84
 103     7933-35 S Essex                       5/1/2019      $175,000.00                    $142,485.14
 104     7937-39 S Essex                       5/1/2019      $175,000.00                    $141,990.37
 105     7943-45 S Essex                       5/1/2019      $175,000.00                    $136,204.61
 106     7947-49 S Essex                       5/1/2019      $175,000.00                    $142,012.95
 10      7301-09 S Stewart                    11/4/2019       $650,000.00                    $587,383.53
 62      7834 S Ellis                         11/4/2019     $1,777,000.00                  $1,655,750.17
 58      5955 S Sacramento                    11/5/2019       $570,000.00                    $497,643.46
  59     6001 S Sacramento                    11/5/2019       $435,000.00                    $379,772.49
  60     7026 Cornell                         11/6/2019     $1,110,000.00                    $918,748.46
  12     3030 E 79th                         11/12/2019       $400,000.00                    $351,680.90
  13     2909 E 78th                         11/14/2019     $1,426,000.00                  $1,276,569.01
  71     701 S 5th Avenue                     3/31/2020       $975,000.00                    $520,541.83
 77      7750 S. Muskegon                    12/18/2019      $700,000.00                    $582,979.54
 92      7748 S. Essex                       12/18/2019     $1,350,000.00                  $1,217,423.87
 75      7625 S. East End                    12/20/2019     $1,250,000.00                  $1,156,782.51
 76      7635 S. East End                    12/20/2019     $1,170,000.00                  $1,084,045.74
 15      8047 S. Manistee                      2/5/2020      $975,000.00                    $867,058.48
   5     7749 S. Yates                        4/22/2020      $925,000.00                    $785,629.17
 115     1050 8th Ave, Naples, FL             4/24/2020      $950,000.00                    $393,043.13
 65      6749 S. Merrill                      4/28/2020     $1,480,000.00                  $1,384,437.44
 112     7450 S. Luella                        5/7/2020      $278,000.00                    $211,313.61
 88      7546 S. Saginaw                      5/13/2020       $625,000.00                    $536,319.43
 95      8201 S. Kingston                     5/21/2020       $400,000.00                    $313,377.74
  63     4520 S. Drexel                       5/21/2020     $6,110,000.00                  $5,814,278.91
  96     8326-32 S Ellis Avenue
  97     8334-40 S Ellis Avenue
                                              6/11/2020      $1,610,000.00                 $1,403,225.03
  98     8342-50 S Ellis Avenue
  99     8352-58 S Ellis Avenue
  4      5450 S. Indiana Avenue               6/25/2020     $1,800,000.00                  $1,656,600.96
  6      6437 S. Kenwood Avenue               6/25/2020     $1,415,000.00                  $1,317,322.28
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50    7760 S. Coles                           6/26/2020     $260,000.00                $188,195.94
54    8000 S. Justine                         6/26/2020     $375,000.00                $297,778.30
55    8107 S. Ellis                           6/30/2020     $220,000.00                $175,605.67
57    8214 S. Ingleside                       6/30/2020     $350,000.00                $267,219.19
56    8209 S. Ellis                            7/1/2020     $375,000.00                $308,848.22
100   11117 S. Longwood                        7/8/2020    $1,750,000.00              $1,599,854.81
49    7300-04 S. St. Lawrence                 7/27/2020     $330,000.00                $283,239.84
66    7110-16 S. Cornell                      8/13/2020    $1,240,000.00              $1,145,576.16
93    7957-59 S. Marquette                    9/21/2020     $351,000.00                $279,775.32
84    7051 S. Bennett                         9/23/2020     $600,000.00                $482,797.05
74    3074 Cheltenham                         9/24/2020    $1,060,000.00               $960,348.38
80    2736-44 W. 64th                         9/29/2020     $418,000.00                $373,122.98
110   5618-20 S. King                         9/29/2029     $646,000.00                $584,772.08
83    6356 S. California                      9/29/2020     $375,000.00                $312,552.66
82    6355-59 S. Talman                       9/29/2020     $577,000.00                $472,139.56
 78   7201 S. Constance                       9/30/2020    $1,100,000.00               $951,411.73
111   6554-58 S.Vernon                       10/15/2020      $576,000.00                $528,668.50              4th Quarter 2020
 1    1700-08 W. Juneway                     10/20/2020    $2,800,000.00              $2,628,031.19
85    7201-07 S. Dorchester                  10/20/2020      $495,000.00                $413,136.81   Total Sale Price   Total Net Proceeds
87    7508 S. Essex                          10/28/2020      $755,000.00                $690,807.52
115   431 E. 42nd                             11/5/2020       $82,500.00                 $59,375.71
91    7701-03 S. Essex                       11/16/2020      $700,000.00                $641,060.09
86    7442-54 S. Calumet                     11/16/2020      $565,000.00                $518,560.89
94    816-22 E. Marquette                    11/18/2020      $805,000.00                $747,245.26
101   6949-59 S. Merrill                      12/1/2020    $1,520,000.00              $1,404,824.55
 2    4533-47 S. Calumet                      12/1/2020    $2,120,000.00              $1,969,074.99
81    4315-19 S. Michigan                     12/2/2020      $850,000.00               $787,969.95
89    7600-10 S. Kingston                     12/2/2020    $1,530,000.00              $1,377,207.46
90    7656-58 S. Kingston                     12/2/2020     $320,000.00                $230,791.66
67    1131-41 E 79th Place                   12/22/2020    $1,150,000.00              $1,055,876.12
69    6250 S Mozart Street                   12/22/2020     $925,000.00                $843,372.55

                                                          $61,296,500.00             $54,110,265.91     $15,193,500.00         $13,896,003.25
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                          EXHIBIT 2
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                       Balances of Funds in Property Specific Accounts as of December 31, 2020




                                                    Account Balance
                                                                                                                 Reason for Change (if any)
 Account Number          Account Name             (as of December 31,       Date of Settlement
                                                                                                                    10/1/20 - 12/31/20
                                                          2020)
0025              7301 S Stewart Ave                         $302,674.81               11/4/2019   Interest earned, $190.15
0033              5001-05 S Drexel                         $2,719,323.46               5/22/2019   Interest earned, $1,708.33
0041              7927-49 S Essex                            $642,868.78                5/1/2019   Interest earned, $403.86
0058              8100-14 S Essex                            $926,599.60               4/30/2019   Interest earned, $582.10
0066              6160-6212 S King                           $428,856.60               4/30/2019   Interest earned, $269.41
0108              8047 S. Manistee                           $806,947.63                2/5/2020   Interest earned, $506.93
0116              5955 S. Sacramento                         $448,986.96               11/5/2019   Interest earned, $282.06
0124              6001-05 S. Sacramento                      $327,036.56               11/5/2019   Interest earned, $205.45
0132              7026-42 S. Cornell                         $865,975.06               11/6/2019   Interest earned, $544.01
0157              7834-44 S. Ellis                         $1,632,532.19               11/4/2019   Interest earned, $1,025.58
0165              701-13 S. 5th Avenue                       $597,747.79               3/31/2020   Refund from title company of unused escrow funds,
                                                                                                   $142,798.11; interest earned, $354.06
0199              7625 S. East End                         $1,238,662.35              12/20/2019   Interest earned, $778.15
0207              7635 S. East End                         $1,046,270.38              12/20/2019   Interest earned, $657.28
0215              7748 S. Essex                            $1,169,126.89              12/18/2019   Interest earned, $734.46
0223              7750 S. Muskegon                          $408,538.52               12/18/2019   Interest earned, $256.65
0231              7749-59 S. Yates                          $647,543.90                4/22/2020   Transfer to Receiver's account in accordance with
                                                                                                   Order (#843) on 2d restoration motion
                                                                                                   ($139,383.80); interest earned, $434.41
0249              7450 S. Luella                            $186,135.60                 5/7/2020   Interest earned, $116.93
0256              4520-26 S. Drexel                        $5,883,614.92               5/21/2020   Interest earned, $3,696.18
0264              6749-59 S. Merrill                       $1,398,209.10               4/28/2020   Interest earned, $878.38
0272              7110 S. Cornell                          $1,146,680.00               8/13/2020   Interest earned, $720.36
0298              7600 S. Kingston                         $1,377,480.29               12/3/2020   Proceeds from 12/3/20 sale of property,
                                                                                                   $1,377,207.46; interest earned, $272.83
0306              7656 S. Kingston                           $230,837.38               12/2/2020   Proceeds from 12/2/20 sale of property,
                                                                                                   $230,791.66; interest earned, $45.72
0314              8201 S. Kingston                          $279,204.19                5/21/2020   Interest earned, $175.40
0322              8326-58 S. Ellis                         $1,311,281.33               6/11/2020   Refund from title company of unused escrow funds,
                                                                                                   $2,000.00; interest earned, $823.47
0330              6949-59 S. Merrill                       $1,405,122.05               12/1/2020   Proceeds from 12/1/20 sale of property,
                                                                                                   $1,404,824.55; interest earned, $297.50
0355              7546 S. Saginaw                            $510,616.73               5/13/2020   Interest earned, $321.65
0363              638 N. Avers                               $336,001.06                     n/a   Insurance settlement for fire damage (additional
                                                                                                   amount) $111,758.22; payment of property
                                                                                                   management expenses, ($13,140.29); payment of
                                                                                                   commission to insurance broker ($32,486.92);
                                                                                                   payment of fees to fire board-up service
                                                                                                   ($11,139.00); interest earned, $191.10

0371              5450 S. Indiana                          $1,650,075.30               6/25/2020 Transfer to Receiver's account in accordance with
                                                                                                 Order (#843) on 2d restoration motion ($8,679.15);
                                                                                                 interest earned, $1,041.16
0389              6437 S. Kenwood                          $1,317,233.21               6/25/2020 Interest earned, $829.77
0397              7300 S. St. Lawrence                      $283,544.58                7/27/2020 Interest earned, $178.62
0405              7760 S. Coles                             $120,606.44                6/26/2020 Interest earned, $75.98
0413              8000 S. Justine                           $184,483.98                6/26/2020 Interest earned, $116.21
0421              8107-09 S. Ellis                            $94,916.63               6/30/2020 Interest earned, $59.80
0439              8209 S. Ellis                             $253,342.74                 7/1/2020 Interest earned, $159.59
0447              8214-16 S. Ingleside                      $204,692.87                6/30/2020 Interest earned, $127.54
0454              11117 S. Longwood                        $1,589,102.58                7/8/2020 Interest earned, $1,001.04
0462              1700 Juneway                             $2,629,327.52              10/20/2020 Proceeds from 10/20/20 sale of property,
                                                                                                 $2,628,031.19; interest earned, $1,296.33
0470              1131-41 E. 79th                          $1,055,948.44              12/22/2020 Proceeds from 12/22/20 sale of property,
                                                                                                 $1,055,876.12; interest earned, $72.32
0488              2736 W. 64th                               $373,360.72               9/29/2020 Interest earned, $235.19
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                       Balances of Funds in Property Specific Accounts as of December 31, 2020




                                                    Account Balance
                                                                                                                 Reason for Change (if any)
 Account Number          Account Name             (as of December 31,       Date of Settlement
                                                                                                                    10/1/20 - 12/31/20
                                                          2020)
0496              3074 Cheltenham                          $1,012,831.26               9/24/2020 Post-sale reconciliation proceeds from property
                                                                                                 manager, $51,828.28; interest earned, $608.56

0504              5618 S. Martin Luther King                 $601,063.85               9/29/2020 Interest earned, $378.64
0512              6250 S. Mozart                             $863,100.40              12/22/2020 Proceeds from 12/22/20 sale of property,
                                                                                                 $843,372.55; interest earned, $70.16
0520              6355 S. Talman                             $472,440.40               9/29/2020 Interest earned, $297.61
0538              6356 S. California                         $312,751.81               9/29/2020 Interest earned, $197.01
0546              6554-58 S. Vernon                          $528,947.39              10/15/2020 Proceeds from 10/15/20 sale of property,
                                                                                                 $528,668.50; interest, $278.89
0553              7051 S. Bennett                            $483,127.84               9/23/2020 Interest earned, $304.34
0561              7201 S. Constance                          $952,017.95               9/30/2020 Interest earned, $599.71
0579              7201-07 S. Dorchester                      $416,779.79              10/20/2020 Proceeds from 10/20/20 sale of property,
                                                                                                 $413,136.81; refund from title company of unused
                                                                                                 escrow funds, $3,438.04; interest earned, $204.94

0587              7508 S. Essex                              $691,115.13              10/28/2020 Proceeds from 10/28/20 sale of property,
                                                                                                 $690,807.52; interest earned, $307.61
0595              7957 S. Marquette                         $279,970.84                9/21/2020 Interest earned, $176.36
0603              4533 S. Calumet                          $1,969,944.25               12/1/2020 Proceeds from 12/1/20 sale of property,
                                                                                                 $1,969,074.99; interest earned, $418.42
0611              1017 W. 102nd                                $4,496.31                     n/a Interest earned, $2.83
0629              1516 E. 85th                                 $2,903.75                     n/a Interest earned, $1.83
0637              417 Oglesby                                   $369.96                      n/a Interest earned, $0.23
0645              7922 S. Luella                                $200.67                      n/a Interest earned, $0.13
0652              7925 S. Kingston                             $2,056.09                     n/a Interest earned, $1.29
0660              8030 S. Marquette                            $1,414.11                     n/a Interest earned, $0.89
0678              8104 S. Kingston                             $2,647.79                     n/a Interest earned, $1.67
0686              8403 S. Aberdeen                             $2,354.58                     n/a Interest earned, $1.48
0694              8405 S. Marquette                            $1,945.78                     n/a Interest earned, $1.23
0702              8529 S. Rhodes                                $935.69                      n/a Interest earned, $0.59
0710              9212 S. Parnell                              $2,461.76                     n/a Interest earned, $1.55
0728              10012 S. LaSalle                             $2,024.92                     n/a Interest earned, $1.27
0736              11318 S. Church                              $1,159.98                     n/a Interest earned, $0.73
0744              6554 S. Rhodes                               $1,086.73                     n/a Interest earned, $0.68
0751              6825 S. Indiana                              $1,054.11                     n/a Interest earned, $0.66
0769              7210 S. Vernon                                $224.23                      n/a Interest earned, $0.15
0777              7712 S. Euclid                               $1,642.25                     n/a Interest earned, $1.04
0785              8107 S. Kingston                              $367.55                      n/a Interest earned, $0.23
0793              8346 S. Constance                            $1,471.84                     n/a Interest earned, $0.92
0801              8432 S. Essex                                 $393.52                      n/a Interest earned, $0.25
0819              8517 S. Vernon                               $1,174.48                     n/a Interest earned, $0.74
0827              2129 W. 71st                                 $1,002.69                     n/a Interest earned, $0.63
0835              9610 S. Woodlawn                             $2,330.52                     n/a Interest earned, $1.47
0843              1401 W. 109th                                $2,368.74                     n/a Interest earned, $1.49
0850              1139 E. 79th                                 $3,706.04                     n/a Interest earned, $2.33
0868              4611 S. Drexel                              $43,820.47                     n/a Interest earned, $27.61
0876              6217 S. Dorchester                          $12,826.65                     n/a Interest earned, $8.08
0884              7255 S. Euclid                              $26,425.71                     n/a Interest earned, $16.65
0892              7024 S. Paxton                              $45,157.36                     n/a Interest earned, $28.45
0900              4317 S. Michigan                           $791,811.22               12/2/2020 Proceeds from 12/2//20 sale of property,
                                                                                                 $787,969.95; interest earned, $164.24
0918              7701 S. Essex                              $646,029.07              11/16/2020 Proceeds from 11/16/20 sale of property,
                                                                                                 $641,060.09; interest earned, $200.62
0926              816 E. Marquette                           $752,554.46              11/18/2020 Proceeds from 11/18/20 sale of property,
                                                                                                 $747,245.26; interest earned, $228.44
0934              1422 E. 68th                                 $1,823.22                     n/a Interest earned, $1.15
0942              2800 E. 81st                                 $5,401.18                     n/a Interest earned, $3.40
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                                                             SEC v. EquityBuild, Inc., et al.
                                                                     No. 18-cv-5587
                                       Balances of Funds in Property Specific Accounts as of December 31, 2020




                                                    Account Balance
                                                                                                                 Reason for Change (if any)
 Account Number         Account Name              (as of December 31,       Date of Settlement
                                                                                                                    10/1/20 - 12/31/20
                                                          2020)
0959              4750 S. Indiana                             $13,133.06                     n/a Interest earned, $8.28
0967              7840 S. Yates                                 $8,764.09                    n/a Interest earned, $5.53
0975              7442-48 S. Calumet                         $518,720.74              11/16/2020 Proceeds from 11/16/20 sale of property,
                                                                                                 $518,560.89; interest earned, $159.85
0983              431 E. 42nd Place                           $59,398.89               11/5/2020 Proceeds from 11/5/20 sale of property, $59,375.71;
                                                                                                 interest earned, $23.18

                  TOTAL FUNDS HELD:                       $49,583,260.26
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                          EXHIBIT 3
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                    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                   Receivership; Civil Court Docket No. 18-cv-05587
                                     Reporting Period 10/1/2020 to 12/31/2020

Fund Accounting (See Instructions):
                                                                             Detail         Subtotal       Grand Total
Line 1        Beginning Balance (As of 10/1/2020):                        $1,167,227.32                    $1,167,227.32
              Increases in Fund Balance:
Line 2        Business Income
Line 3        Cash and unliquidated assets
Line 4        Interest/Dividend Income                                         $758.19
Line 5        Business Asset Liquidation
Line 6        Personal Asset Liquidation
Line 7        Net Income from Properties
Line 8        Miscellaneous - Other¹                                       $148,302.95
                Total Funds Available (Line 1-8):                                                          $1,316,288.46
              Decrease in Fund Balance:
Line 9      Disbursements to Investors
Line 10     Disbursements for receivership operations
   Line 10a Disbursements to receiver or Other Profesionals
   Line 10b Business Asset Expenses²                                       ($134,407.03)
   Line 10c Personal Asset Expenses
   Line 10d Investment Expenses
   Line 10e Third-Party Litigation Expenses
                1. Attorney Fees
                2. Litigation Expenses
              Total Third-Party Litigation Expenses                                               $0.00
   Line 10f Tax Administrator Fees and Bonds
  Line 10g Federal and State Tax Payments
              Total Disbursements for Receivership Operations                              ($134,407.03)
Line 11     Disbursements for Distribution Expenses Paid by the Fund:
   Line 11a    Distribution Plan Development Expenses:
                 1. Fees:
                       Fund Administrator……………………………………………………….….
                       Independent Distribution Consultant (IDC)…………………
                       Distribution Agent……………………….……………………………………
                       Consultants………………………………………………….…………………….
                       Legal Advisers…………………………………………………………….……..
                       Tax Advisers……………………………………………………………………….
                  2. Administrative Expenses
                  3. Miscellaneous
               Total Plan Development Expenses                                                    $0.00
  Line 11b       Distribution Plan Implementation Expenses:
                   1. Fees:
                       Fund Administrator…………..…………….…………………………
                       IDC……………………………………………………………………………..
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                 STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                                Receivership; Civil Court Docket No. 18-cv-05587
                                  Reporting Period 10/1/2020 to 12/31/2020

                    Distribution Agent……………………….………………..…..………
                    Consultants………………………………………………….…………….
                    Legal Advisers………………………………………….………………………..
                    Tax Advisers……………………………………………………..………………..
                 2. Administrative Expenses
                 3. Investor identification
                    Notice/Publishing Approved Plan………………………………….
                    Claimant Identification……………………………………………………
                    Claims Processing……………………………………………………………..
                    Web Site Maintenance/Call Center……………………………….
                 4. Fund Adminstrator Bond
                 5. Miscellaneous
                 6. Federal Account for Investor Restitution
                   (FAIR) reporting Expenses
                 Total Plan Implementation Expenses
                 Total Disbursement for Distribution Expenses Paid by the Fund            $0.00
Line 12     Disbursement to Court/Other:
   Line 12a     Investment Expenses/Court Registry Investment
                System (CRIS) Fees
   Line 12b     Federal Tax Payments
              Total Disbursement to Court/Others:
              Total Funds Disbursed (Lines 1-12):                                                      ($134,407.03)
Line 13         Ending Balance (As of 12/31/2020):                                                   $1,181,881.43
Line 14     Ending Balance of Fund - Net Assets:
   Line 14a    Cash & Cash Equivalents                                                               $1,181,881.43
   Line 14b    Investments (unliquidated Huber/Hubadex investments)
   Line 14c    Other Assets or uncleared Funds
               Total Ending Balance of Fund - Net Assets                                             $1,181,881.43



           ¹ Refund of insurance premium financing payments for sold
           propert7 (6751 S Merrill) - $240.00; funds transfers from
           property accounts per 10/30/20 Order (#843) on 2d
           restoration motion - $148,062.95; TOTAL: $148,302.95
           ² Insurance ($96,968.83); property utilities ($11,023.69);
           property security installations ($4,591.08); property repairs
           ($10,076.68): property management fees ($2,003.00);
           payment of retained professional fees for 1Q and 2Q2020
           per 10/26/20 Order (#824); ($9,743.75); TOTAL $134,407.03.




                                                               Receiver:
                                                                                 /s/ Kevin B. Duff
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    STANDARDIZED FUND ACCOUNTING REPORT for EQUITYBUILD, INC., et al. - Cash Basis
                   Receivership; Civil Court Docket No. 18-cv-05587
                     Reporting Period 10/1/2020 to 12/31/2020

                                                        (Signature)

                                                    Kevin B. Duff, Receiver EquityBuild, Inc., et al.
                                                        (Printed Name)

                                            Date:                     January 26, 2021
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                          EXHIBIT 4
Case: 1:18-cv-05587 Document #: 930 Filed: 02/01/21 Page 36 of 44 PageID #:20131
                 EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                               October-December 2020
                        Schedule of Receipts and Disbursements


Beginning Balance
10/1/20                                                                                $1,040,573.76

RECEIPTS

                                   Received From                  Amount
                                   Transfer from 5450 Indiana
                                   property account in accordance
                                   with Order (#843) on 2d
Transfer In           10/30/2020   restoration motion                  $8,679.15
                                   Transfer from 7749 Yates
                                   property account in accordance
                                   with Order (#843) on 2d
Transfer In           10/30/2020   restoration motion                $139,383.80
                       11/1/2020   Interest                              $224.61
                      11/30/2020   Interest                              $223.49
                                   Insurance premium refund
                                   (Endorsement 15 on policy #
                                   PRMA1-2019-EQB deleting 6751
Deposit               12/10/2020   S. Merrill)                           $240.00
                      12/31/2020   Interest                              $230.48

                                   TOTAL RECEIPTS:                                      $148,981.53

DISBURSEMENTS

                                   Paid To                           Amount
                                   First American Title Ins. Co. (to
                                   pay in full water bill for 5618 S
Wire Out               10/6/2020   MLK at closing)                       ($1,975.02)
                                   First Funding (installment on
                                   premium financing agreement -
Wire Out               10/7/2020   GL & umbrella ins)                   ($23,164.00)
                                   Paper Street (3 months DAWGS
Wire Out              10/14/2020   at 7237 S Bennett)                    ($4,591.08)
                                   Paper Street (utilities at 1401 W
                                   109th, $1,400.03; 7201 S
Wire Out              10/20/2020   Dorchester, $4,149.52)                ($5,549.55)
                                   First Funding (installment on
                                   premium financing agreement -
Wire Out              10/30/2020   property ins)                        ($16,012.98)
                                   First Funding (installment on
                                   premium financing agreement -
Wire Out              11/12/2020   GL & umbrella ins)                   ($11,292.46)
                                   First Funding (installment on
                                   premium financing agreement -
Wire Out              11/27/2020   property ins)                        ($14,635.58)
                                   First Funding (installment on
                                   premium financing agreement -
Wire Out               12/9/2020   GL & umbrella ins)                   ($17,228.23)
                                   Axos Fiduciary Services - Invoice
                                   119006, 126002 (EB fees, 1Q &
              20024    12/9/2020   2Q2020)                               ($7,538.75)
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                   EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0181
                                 October-December 2020
                          Schedule of Receipts and Disbursements

                                    Prometheum Technologies, Inc. -
                                    Inv 11083, 11599 (EB fees 1Q &
              20025     12/9/2020   2Q2020)                              ($1,155.00)
                                    Kraus Law Firm - Inv 24830 (EB
              20026     12/9/2020   fees 1Q & 2Q2020)                    ($1,050.00)
                                    First American Title Ins. Co. (to
                                    pay in full water bill for 4533 S
Wire Out               12/23/2020   Calumet post closing)                ($3,311.04)
                                    Paper Street (property
                                    management expenses for 1401
Wire Out               12/23/2020   W 109th)¹                           ($12,267.76)
                                    First Funding (installment on
                                    premium financing agreement -
Wire Out               12/23/2020   property ins)                       ($14,635.58)

                                    TOTAL DISBURSEMENTS:                                ($134,407.03)

                                    Grand Total Cash on Hand at
                                    12/31/2020:                                        $1,055,148.26


¹Rent Ready
Apartments              $8,026.68
Paper Street Realty,
LLC                      $500.00

Rent Ready
Apartment  - Rehab $2,050.00
Peoples Gas            $55.37
City of Chicago-
Utility               $132.71
MII Overdraw        $1,503.00
Total              $12,267.76
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                    EQUITYBUILD RECEIVERSHIP ESTATE ACCOUNT #0348
                                  October-December 2020
                           Schedule of Receipts and Disbursements


Beginning Balance
10/1/20                                                                             $126,653.56

RECEIPTS

                                    Received From                 Amount

                            11/1/20 Interest                               $27.69
                           11/30/20 Interest                               $25.09
                           12/31/20 Interest                               $26.83

                                    TOTAL RECEIPTS:                                     $79.61

DISBURSEMENTS

                                    Paid To                       Amount


                                    TOTAL DISBURSEMENTS:                                  $0.00

                                    Grand Total Cash on Hand at
                                    12/31/2020:                                     $126,733.17
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                          EXHIBIT 5
      Case: 1:18-cv-05587 Document #: 930 Filed: 02/01/21 Page 40 of 44 PageID #:20135



                                                    Master Asset List
                                       Receiver’s Account (as of 12/31/2020)
Institution                                Account Information              Amount
AXOS Fiduciary Services                    Checking #0181                                                       $1,055,148.26
AXOS Fiduciary Services                      Checking #0348                                                       $126,733.17
                                                                                                                        Total:
                                                                                                                $1,181,881.43

                                 Receivership Defendants’ Accounts
Institution      Account Information                         Current Value                           Amount Transferred
                                                                                                     to Receiver’s
                                                                                                     Account
Wells Fargo      Checking (53 accounts in the names of the                                                    $190,184.13¹
                 affiliates and affiliate entities included as
                 Receivership Defendants)
Wells Fargo      Checking (account in the names of Shaun                                                           $23,065.43²
                 Cohen and spouse)
Byline Bank      Checking (2 accounts in names of Receivership                      $21,828.73³
                 Defendants)
                                                                                                                        Total:
                                                                                                                  $213,249.56

                                   EquityBuild Real Estate Portfolio
For a list of the properties within the EquityBuild portfolio identified by property address, alternative
address (where appropriate), number of units, and owner, see Exhibit 1 to the Receiver’s First Status
Report, Docket No. 107. See also Exhibit __ hereto.

                                            Other, Non-Illinois Real Estate
Description                                                     Appraised Market Value
Single family home in Plano, Texas                                                                              ±$450,000.00

                                                                          Approximate mortgage amount: $400,000.00
                                                                         Approximate value less mortgage: $50,000.00


     ¹ This amount reflects the total value of all of the frozen bank accounts held by Wells Fargo that were transferred to
     the Receiver’s account; the final transfer was made on 1/22/20, and included as part of the Receiver’s Account as of
     3/31/20.
     ² This amount was transferred to the Receiver’s Account as of 8/27/18, and is included as part of the total balance of
     the Receiver’s Account as of 3/31/19.
     ³ The Receiver is investigating whether these accounts are properly included within the Receivership Estate.
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                          EXHIBIT 6
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                                 Master Property List



   Prop #   Property Address                            Alternative Address
      1     1700-08 Juneway Terrace
      2     4533-47 S Calumet Avenue
      3     5001 S Drexel Boulevard                     909 E 50th Street
     4      5450-52 S Indiana Avenue                    118-132 E Garfield
     5      7749-59 S Yates Boulevard
     6      6437-31 S Kenwood Avenue
     7      7109-19 S Calumet Avenue
     8      1414 & 1418 East 62nd Place
     9      8100 S Essex Avenue                         2449-2457 E. 81st St.
     10     7301-09 S Stewart Avenue
     11     7500-06 S Eggleston Avenue
     12     3030-32 E 79th Street
     13     2909-19 E 78th Street
     14     7549-59 S Essex Avenue
     15     8047-55 S Manistee Avenue
     16     1017 W 102nd Street
     17     1516 E 85th Place
     18     2136 W 83rd Street
     19     417 Oglesby Avenue
     20     7922 S Luella Avenue
     21     7925 S Kingston Avenue
     22     7933 S Kingston Avenue
     23     8030 S Marquette Avenue
     24     8104 S Kingston Avenue
     25     8403 S Aberdeen Street
     26     8405 S Marquette Avenue
     27     8529 S Rhodes Avenue
     28     8800 S Ada Street
     29     9212 S Parnell Avenue
     30     10012 S LaSalle Avenue
     31     11318 S Church Street
     32     3213 S Throop Street
     33     3723 W 68th Place
     34     406 E 87th Place
     35     61 E 92nd Street
     36     6554 S Rhodes Avenue
     37     6825 S Indiana Avenue
     38     7210 S Vernon Avenue
     39     7712 S Euclid Avenue
     40     7953 S Woodlawn Avenue
     41     8107 S Kingston Avenue
     42     8346 S Constance Avenue
     43     8432 S Essex Avenue
     44     8517 S Vernon Avenue



                                          1
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                                   Master Property List



   Prop #   Property Address                              Alternative Address
     45     2129 W 71st Street
     46     9610 S Woodlawn Avenue
     47     5437 S Laflin Street
     48     6759 S Indiana Avenue
     49     7300-04 St Lawrence Avenue
     50     7760 S Coles Avenue
     51     1401 W 109th Place
     52     310 E 50th Street
     53     6807 S Indiana Avenue
     54     8000-02 S Justine Street                      1541 E 80th Street
     55     8107-09 S Ellis Avenue
     56     8209 S Ellis Avenue
     57     8214-16 S Ingleside Avenue
     58     5955 S Sacramento Avenue                      2948-56 W 60th Street
     59     6001-05 S Sacramento Avenue                   2945-51 W 60th Street
     60     7026-42 S Cornell Avenue
     61     7237-43 S Bennett Avenue
     62     7834-44 S Ellis Avenue
     63     4520-26 S Drexel Boulevard
     64     4611-17 S Drexel Boulevard
     65     6749-59 S Merrill Avenue                      2136 East 68th Street
     66     7110 S Cornell Avenue
     67     1131-41 E 79th Place
     68     6217-27 S Dorchester Avenue                   1408-10 E. 62nd Place
     69     6250 S Mozart Avenue                          2832-36 W 63rd Street
     70     638-40 N Avers Avenue
     71     701-13 S 5th Avenue, Maywood                  414 Walnut
     72     7024-32 S Paxton Avenue
     73     7255-57 S Euclid Avenue                       1940-44 E 73rd Street
     74     3074 Cheltenham Place                         7836 S Shore Drive
     75     7625-33 S East End Avenue
     76     7635-43 S East End Avenue
     77     7750-58 S Muskegon Avenue                     2818-36 E 78th Street
     78     7201 S Constance Avenue                       1825-31 E 72nd Street
     79     6160-6212 S Martin Luther King Drive
     80     2736 W 64th Street
     81     4317-19 S Michigan Avenue
     82     6355-59 S Talman Avenue                       2616-22 W 64th Street
     83     6356 S California Avenue                      2804 W 64th Street
     84     7051 S Bennett Avenue
     85     7201-07 S Dorchester Avenue                   1401 E 72nd Street
     86     7442-48 S Calumet Avenue
     87     7508 S Essex Avenue                           2453-59 E 75th Street
     88     7546-48 S Saginaw Avenue



                                            2
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                                   Master Property List



   Prop #   Property Address                              Alternative Address
     89     7600-10 S Kingston Avenue                     2527 E 76th Street
     90     7656-58 S Kingston Avenue                     2514-20 E 77th Street
     91     7701-03 S Essex Avenue
     92     7748-52 S Essex Avenue                        2450-52 E 78th Street
     93     7953-59 S Marquette Road                      2708-10 E 80th Street
     94     816-20 E Marquette Road
     95     8201 S Kingston Avenue
     96     8326-32 S Ellis Avenue
     97     8334-40 S Ellis Avenue
     98     8342-50 S Ellis Avenue
     99     8352-58 S Ellis Avenue
    100     11117-11119 S Longwood Drive
    101     6949-59 S Merrill Avenue
    102     7927-29 S Essex Avenue
    103     7933-35 S Essex Avenue
    104     7937-39 S Essex Avenue
    105     7943-45 S Essex Avenue
    106     7947-49 S Essex Avenue
    107     1422-24 East 68th Street
    108     2800-06 E 81st Street
    109     4750-52 S Indiana Avenue
    110     5618-20 S Martin Luther King Drive
    111     6558 S Vernon Avenue                          416-24 E 66th Street
    112     7450 S Luella Avenue                          2220 East 75th Street
    113     7840-42 S Yates Avenue
    114     1050 8th Avenue, Naples, FL
    116     1102 Bingham St, Houston TX
    141     431 E. 42nd Place




                                             3
